     Case 2:17-cv-03404-PA-JC Document 31 Filed 07/31/20 Page 1 of 1 Page ID #:3682



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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12    TERION COLLINS,                       ) Case No. 2:17-cv-03404-PA-JC
                                            )
13                                          )
                           Petitioner,      )
14                                          ) JUDGMENT
                    v.                      )
15                                          )
                                            )
16    W.L. MONTGOMERY,                      )
                                            )
17                                          )
                     Respondent.            )
18 ______________________________
19         Pursuant to this Court’s Order Accepting Findings, Conclusions and
20 Recommendations of United States Magistrate Judge,
21      IT IS ADJUDGED that the Petition for Writ of Habeas Corpus by a Person
22 in State Custody is denied and this action is dismissed with prejudice.
23        IT IS SO ADJUDGED.
24 DATED: July 31, 2020
25
26                                  _______________________________________
27                                  PERCY ANDERSON
28                                  UNITED STATES DISTRICT JUDGE
